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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
MICHAEL SAUNDERS, on behalf of himself and
all others similarly situated,
                       Plain�ﬀs,
         -against-
                                                              24-CV-05768 (JHR) (RFT)
 KLUB CANIVIBE LLC,
                                                                       ORDER
                       Defendant.


ROBYN F. TARNOFSKY, United States Magistrate Judge:

       Plaintiff timely served Defendant KLUB CANIVIBE LLC (“Defendant”) with the summons

and complaint in this matter on September 3, 2024. (See ECF 8.) On January 14, 2025 Plaintiff

filed proof of such service on the docket. (See id.) Defendant was therefore required to respond

to the Complaint by September 24, 2024. (See id.) To date, Defendant has not responded to the

complaint.

       Defendant is hereby Ordered To Show Cause why an order should not be issued

pursuant to Fed. R. Civ. P. 55 instructing Plaintiff to seek default judgment against Defendant

for failure to defend this action. This Order To Show Cause may be satisfied by filing a written

response to the complaint by February 14, 2025 along with a declaration explaining why

Defendant did not timely respond to the complaint. Plaintiff is directed to serve by January 15,

2025, a copy of this Order To Show Cause to Defendant. Service shall be made by registered

mail at their principal place of business, identified in the complaint as 145-70 224th St. Queens,

New York 11413 (ECF 1) and by any email addresses used by Defendant and known to Plaintiff.

Plaintiff is directed to file confirmation of such mailings on the docket by January 15, 2025.
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       Defendant is warned that failure to respond to this Order To Show Cause may result in

an order instructing Plaintiff to seek a default judgment against Defendant for failure to defend

this action.

DATED: January 14, 2025
       New York, New York


                                                        SO ORDERED.

                                                        __________________________
                                                        ROBYN F. TARNOFSKY
                                                        United States Magistrate Judge
